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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                 8:05CR340
                                                  )
GILBERTO ANDRADE-RAMIREZ,                         )                  ORDER
                                                  )
                       Defendant.                 )




UPON THE COURT’S OWN MOTION,

       IT IS ORDERED that the Change of Plea hearing is continued to February 8, 2006 at
3:00 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L.
Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

        For this defendant, the time between February 1, 2006 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the Speedy
Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 6th day of February, 2006.

                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
